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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

SHELTON MERRILL and                                                          PLAINTIFFS
JARED GATES

v.                          CASE NO. 4:19-CV-00435-BSM

BENZOMATIC, INC., et al.                                                   DEFENDANTS

                                          ORDER

       Plaintiffs’ motion to dismiss [Doc. No. 26] is granted. This case is dismissed without

prejudice, with each party bearing its own costs and fees. Fed. R. Civ. P. 41.

       IT IS SO ORDERED this 15th day of October, 2020.


                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
